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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SEGA CORPORATION and
 SEGA OF AMERICA, INC.,                                 Case No. 22-cv-05479

                        Plaintiffs,                     Judge Mary M. Rowland
 v.
                                                        Magistrate Judge Maria Valdez

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Sega

Corporation and Sega of America, Inc. hereby dismiss this action with prejudice as to the following

Defendants:

                                                          Schedule A Line
                         Defendant Seller Alias                No.
                              Dia eStores                       16
                             Elvin jewelry                      18
                              Hetalicious                       26
                                Jiuyue                          31
                              LMZ-Store                         37
                               Piezone                          46
                              UYNEED                            63




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Dated this 23rd day of December 2022.       Respectfully submitted,

                                            /s/ Martin F. Trainor
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                                            Sega of America, Inc.




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